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18

19                                 UNITED STATES DISTRICT COURT

20                           NORTHERN DISTRICT OF CALIFORNIA

21

22
     MLW MEDIA LLC,                                    Case No. 5:22-cv-179-EJD
23
                      Plaintiff,                       ANSWER OF DEFENDANT WORLD
24                                                     WRESTLING ENTERTAINMENT,
            v.                                         INC., TO PLAINTIFF’S FIRST
25                                                     AMENDED COMPLAINT
     WORLD WRESTLING
26   ENTERTAINMENT, INC.,

27                    Defendant.

28
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 1          Defendant World Wrestling Entertainment, Inc. (“WWE” or “Defendant”) hereby submits
 2   the following answer and affirmative defenses (the “Answer”) to Plaintiff MLW Media LLC’s
 3   (“Plaintiff” or “MLW”) First Amended Complaint (“FAC”). The paragraph numbers of WWE’s
 4   responses set forth below correspond to the paragraph numbering of the FAC. The section
 5   headings are also reproduced accordingly, but any allegations of such headings are denied unless
 6   specifically admitted. Where not otherwise specified, abbreviations and definitions used below
 7   correspond to abbreviations and definitions used in the FAC. Pursuant to Rule 8(b)(3) of the
 8   Federal Rules of Civil Procedure, WWE hereby denies all allegations of the FAC except those
 9   specifically admitted below. WWE’s investigation and discovery regarding the facts alleged in
10   the FAC are ongoing, and WWE reserves the right to amend or supplement this Answer as may
11   be necessary.
12                                RESPONSES TO SPECIFIC ALLEGATIONS
13                                         Preliminary Statement
14          1.       To the extent that Paragraph 1 sets forth conclusions of law, no response is
15   required. To the extent a response is required, WWE denies the allegations in Paragraph 1.
16          2.       To the extent that Paragraph 2 sets forth conclusions of law, no response is
17   required. To the extent a response is required, WWE denies the allegations in Paragraph 2.
18          3.       WWE lacks knowledge or information sufficient to form a belief as to the truth of
19   the allegations in Paragraph 3. WWE therefore denies the allegations in Paragraph 3. WWE
20   denies that Plaintiff has properly defined a “Relevant Market.”
21          4.       WWE denies the allegations in Paragraph 4.
22          5.       To the extent that Paragraph 5 sets forth conclusions of law, no response is
23   required. To the extent a response is required, WWE denies the allegations in Paragraph 5.
24          6.       To the extent that Paragraph 6 sets forth conclusions of law, no response is
25   required. To the extent a response is required, WWE denies the allegations in Paragraph 6.
26          7.       WWE lacks knowledge or information sufficient to form a belief as to the truth of
27   the allegations in the first, sixth, and seventh sentences of Paragraph 7. WWE therefore denies
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 1   the allegations in the first, sixth, and seventh sentences of Paragraph 7. WWE denies the
 2   remaining allegations in Paragraph 7.
 3          8.      WWE denies the allegations in the first sentence of Paragraph 8. WWE lacks
 4   knowledge or information sufficient to form a belief as to the truth of the remaining allegations in
 5   Paragraph 8. WWE therefore denies the remaining allegations in Paragraph 8.
 6          9.      WWE denies the allegations in the first and second sentences of Paragraph 9.
 7   WWE lacks knowledge or information sufficient to form a belief as to the truth of the remaining
 8   allegations in Paragraph 9. WWE therefore denies the remaining allegations in Paragraph 9.
 9          10.     To the extent that Paragraph 10 sets forth conclusions of law, no response is
10   required. To the extent a response is required, WWE denies the allegations in Paragraph 10.
11          11.     To the extent that Paragraph 11 sets forth conclusions of law, no response is
12   required. To the extent a response is required, WWE denies the allegations in Paragraph 11.
13   WWE lacks knowledge or information sufficient to form a belief as to the truth of the allegations
14   in the third sentence of Paragraph 11. WWE therefore denies the allegations in the third sentence
15   of Paragraph 11.
16          12.     To the extent that Paragraph 12 sets forth conclusions of law, no response is
17   required. To the extent a response is required, WWE denies the allegations in Paragraph 12.
18          13.     To the extent that Paragraph 13 sets forth conclusions of law, no response is
19   required. To the extent a response is required, WWE denies the allegations in Paragraph 13.
20          14.     To the extent that Paragraph 14 sets forth conclusions of law, no response is
21   required. To the extent a response is required, WWE denies the allegations in Paragraph 14.
22          15.     To the extent that Paragraph 15 sets forth conclusions of law, no response is
23   required. To the extent a response is required, WWE denies the allegations in Paragraph 15.
24                                               PARTIES
25          16.     WWE lacks knowledge or information sufficient to form a belief as to the truth of
26   the allegations in Paragraph 16. WWE therefore denies the allegations in Paragraph 16.
27          17.     WWE admits the allegations in Paragraph 17.
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 1                                   JURISDICTION AND VENUE
 2           18.    To the extent that Paragraph 18 sets forth conclusions of law, no response is
 3   required. To the extent a response is required, WWE denies the allegations in Paragraph 18.
 4           19.    To the extent that Paragraph 19 sets forth conclusions of law, no response is
 5   required. To the extent a response is required, WWE denies the allegations in Paragraph 19.
 6                                           BACKGROUND
 7   I.      INTRODUCTION
 8           20.    To the extent that Paragraph 20 sets forth conclusions of law, no response is
 9   required. To the extent a response is required, WWE denies the allegations in Paragraph 20.
10           21.    To the extent that Paragraph 21 sets forth conclusions of law, no response is
11   required. To the extent a response is required, WWE denies the allegations in Paragraph 21.
12           22.    To the extent that Paragraph 22 sets forth conclusions of law, no response is
13   required. To the extent a response is required, WWE denies the allegations in Paragraph 22.
14           23.    To the extent that Paragraph 23 sets forth conclusions of law, no response is
15   required. To the extent a response is required, WWE denies the allegations in Paragraph 23.
16   II.     THE PROFESSIONAL WRESTLING INDUSTRY
17           24.    WWE admits that professional wrestling is produced by professional wrestling
18   promotion companies such as WWE and MLW, among others, and that professional wrestling is
19   sometimes referred to as a form of sports entertainment.
20           25.    WWE admits that the outcomes of professional wrestling matches are commonly
21   predetermined and scripted. WWE denies the remaining allegations in Paragraph 25.
22           26.    WWE admits that throughout the 1990s, it was a major wrestling promotion
23   competing in the United States. WWE lacks knowledge or information sufficient to form a belief
24   as to the truth of the remaining allegations in Paragraph 26. WWE therefore denies the remaining
25   allegations in Paragraph 26.
26           27.    To the extent that the first sentence of Paragraph 27 sets forth conclusions of law,
27   no response is required. To the extent a response is required, WWE denies the allegations in the
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 1   first sentence of Paragraph 27. WWE denies the allegations in the second sentence of Paragraph
 2   27.
 3          28.     WWE admits the allegations in the first and fourth sentences of Paragraph 28.
 4   WWE lacks knowledge or information sufficient to form a belief as to the truth of the remaining
 5   allegations in Paragraph 28. WWE therefore denies the remaining allegations in Paragraph 28.
 6          29.     WWE denies the allegations in Paragraph 29.
 7   III.   THE RELEVANT MARKET
 8          30.     To the extent that Paragraph 30 sets forth conclusions of law, no response is
 9   required. To the extent a response is required, WWE denies the allegations in Paragraph 30.
10          31.     To the extent that Paragraph 31 sets forth conclusions of law, no response is
11   required. To the extent a response is required, WWE denies the allegations in Paragraph 31.
12          32.     WWE admits the allegations in the first and second sentences of Paragraph 32.
13   WWE lacks knowledge or information sufficient to form a belief as to the truth of the remaining
14   allegations in Paragraph 32. WWE therefore denies the remaining allegations in Paragraph 32.
15          33.     WWE lacks knowledge or information sufficient to form a belief as to the truth of
16   the allegations in the first sentence of Paragraph 33. WWE therefore denies the allegations in the
17   first sentence of Paragraph 33. The allegations in the second sentence of Paragraph 33 refer to
18   and purport to interpret a document that speaks for itself. WWE respectfully refers the Court to
19   the full cited document for its language and complete contents, and otherwise denies the
20   allegations in the second sentence of Paragraph 33.
21          34.     WWE admits that its programs have aired on USA Network, SYFY, and Peacock
22   (all owned by NBCUniversal), FOX, and Hulu. WWE admits that it operates channels on
23   YouTube. With respect to the remaining allegations in Paragraph 34, WWE denies that Plaintiff
24   has properly defined a “Relevant Market” and denies that professional wrestling promotions have
25   been aired on “a tiny fraction” of the vast number of U.S. media platforms. WWE therefore
26   denies the remaining allegations in Paragraph 34.
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 1          35.      To the extent that the first sentence of Paragraph 35 sets forth conclusions of law,
 2   no response is required. To the extent a response is required, WWE denies the allegations in the
 3   first sentence of Paragraph 35. The allegations in the second sentence of Paragraph 35 refer to
 4   and purport to interpret a document that speaks for itself. WWE respectfully refers the Court to
 5   the full cited document for its language and complete contents, and otherwise denies the
 6   allegations in the second sentence of Paragraph 35.
 7          A.       Structure of Professional Wrestling Media Rights Deals
 8          36.      The allegations in Paragraph 36 refer to and purport to interpret WWE’s 2021 SEC
 9   Form 10-K, which speaks for itself. WWE respectfully refers the Court to its 2021 SEC Form 10-
10   K for its language and complete contents, and otherwise denies the allegations in Paragraph 36.
11          37.      WWE admits that it receives forms of revenue or payment pursuant to media rights
12   agreements. WWE lacks knowledge or information sufficient to form a belief as to the truth of
13   the remaining allegations in Paragraph 37. WWE therefore denies the remaining allegations in
14   Paragraph 37.
15          38.      WWE lacks knowledge or information sufficient to form a belief as to the truth of
16   the allegations in Paragraph 38. WWE therefore denies the allegations in Paragraph 38.
17          39.      WWE lacks knowledge or information sufficient to form a belief as to the truth of
18   the allegations in Paragraph 39. WWE therefore denies the allegations in Paragraph 39.
19          40.      WWE denies the allegations in Paragraph 40.
20          B.       There is no Meaningful Substitute for Professional Wrestling Programming
21          41.      To the extent that the first and second sentences of Paragraph 41 set forth
22   conclusions of law, no response is required. To the extent a response is required, WWE denies
23   the allegations in the first and second sentences of Paragraph 41. The remaining allegations in
24   Paragraph 41 refer to and purport to interpret a document that speaks for itself. WWE
25   respectfully refers the Court to the full cited document for its language and complete contents,
26   and otherwise denies the allegations in Paragraph 41.
27

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 1          42.     WWE lacks knowledge or information sufficient to form a belief as to the truth of
 2   the allegations in Paragraph 42. WWE therefore denies the allegations in Paragraph 42.
 3          43.     WWE lacks knowledge or information sufficient to form a belief as to the truth of
 4   the allegations in Paragraph 43. WWE therefore denies the allegations in Paragraph 43.
 5          44.     The allegations of Paragraph 44 refer to and purport to interpret documents that
 6   speak for themselves. WWE respectfully refers the Court to the full cited documents for their
 7   language and complete contents, and otherwise denies the allegations in Paragraph 44.
 8          45.     The allegations of Paragraph 45 refer to and purport to interpret documents that
 9   speak for themselves. WWE respectfully refers the Court to the full cited documents for their
10   language and complete contents, and otherwise denies the allegations in Paragraph 45.
11          46.     The allegations of Paragraph 46 refer to and purport to interpret documents that
12   speak for themselves. WWE respectfully refers the Court to the full cited documents for their
13   language and complete contents, and otherwise denies the allegations in Paragraph 46.
14          47.     WWE lacks knowledge or information sufficient to form a belief as to the truth of
15   the allegations concerning boxing and MMA in Paragraph 47. WWE therefore denies those
16   allegations in Paragraph 47. The allegations of the fourth sentence of Paragraph 47 refer to and
17   purport to interpret a document that speaks for itself. WWE respectfully refers the Court to the
18   full cited document for its language and complete contents, and otherwise denies the allegations
19   in the fourth sentence of Paragraph 47.
20          48.     To the extent that Paragraph 48 sets forth conclusions of law, no response is
21   required. To the extent a response is required, WWE denies the allegations in Paragraph 48.
22   WWE lacks knowledge or information sufficient to form a belief as to the truth of the allegations
23   concerning live team and individual sports in Paragraph 48. WWE therefore denies those
24   allegations in Paragraph 48.
25          49.     WWE admits that professional wrestling has no off-season. WWE lacks
26   knowledge or information sufficient to form a belief as to the truth of the allegations concerning
27   live team and individual sports in Paragraph 49. WWE therefore denies those allegations in
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 1   Paragraph 49. The allegations in the sixth sentence of Paragraph 49 refer to and purport to
 2   interpret a document not cited in or attached to the FAC. As such, WWE lacks knowledge or
 3   information sufficient to form a belief as to the truth of the allegations in the sixth sentence of
 4   Paragraph 49. WWE therefore denies the allegations in the second sentence of Paragraph 49.
 5   Furthermore, the referenced document speaks for itself. WWE respectfully refers the Court to the
 6   full cited document for its language and complete contents, and otherwise denies the allegations
 7   in the sixth sentence of Paragraph 49.
 8          50.     To the extent that Paragraph 50 sets forth conclusions of law, no response is
 9   required. To the extent a response is required, WWE denies the allegations in Paragraph 50.
10   IV.    WWE’S MONOPOLY POWER IN THE RELEVANT MARKET.
11          51.     To the extent that Paragraph 51 sets forth conclusions of law, no response is
12   required. To the extent a response is required, WWE denies the allegations in Paragraph 51.
13          A.      WWE Excludes Competitors and Charges Supracompetitive Prices
14          52.     The allegations in the third sentence of Paragraph 52 refer to and purport to
15   interpret the contents of a document that speaks for itself. WWE respectfully refers the Court to
16   the full cited document for its language and complete contents, and otherwise denies the
17   allegations in the third sentence of Paragraph 52. To the extent that the remaining allegations in
18   Paragraph 52 set forth conclusions of law, no response is required. To the extent a response is
19   required, WWE denies the remaining allegations in Paragraph 52.
20          53.     WWE lacks knowledge or information sufficient to form a belief as to the truth of
21   the allegations in the second and fourth sentences of Paragraph 53. WWE therefore denies the
22   allegations in the second and fourth sentences of Paragraph 53. The allegations in the third
23   sentence of Paragraph 53 refer to and purport to interpret a document that speaks for itself. WWE
24   respectfully refers the Court to the full cited document for its language and complete contents,
25   and otherwise denies the allegations in the third sentence of Paragraph 53. WWE denies the
26   remaining allegations in Paragraph 53.
27

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 1          54.     To the extent that Paragraph 54 sets forth conclusions of law, no response is
 2   required. To the extent a response is required, WWE denies the allegations in Paragraph 54.
 3          55.     WWE lacks knowledge or information sufficient to form a belief as to the truth of
 4   the allegations in the third sentence of Paragraph 55. WWE therefore denies the allegations in the
 5   third sentence of Paragraph 55. WWE denies the remaining allegations in Paragraph 55.
 6          56.     The allegations in the first, second, and third sentences of Paragraph 56 refer to
 7   and purport to interpret documents that speak for themselves. WWE respectfully refers the Court
 8   to the full cited documents for their language and complete contents, and otherwise denies the
 9   allegations in the first, second, and third sentences of Paragraph 56. To the extent that the fourth
10   sentence of Paragraph 56 sets forth conclusions of law, no response is required. To the extent a
11   response is required, WWE denies the allegations in the fourth sentence of Paragraph 56.
12          57.     To the extent that Paragraph 57 sets forth conclusions of law, no response is
13   required. To the extent a response is required, WWE denies the allegations in Paragraph 57.
14   WWE lacks knowledge or information sufficient to form a belief as to the truth of the allegations
15   in the third sentence of Paragraph 57. WWE therefore denies the allegations in the third sentence
16   of Paragraph 57.
17          58.     WWE lacks knowledge or information sufficient to form a belief as to the truth of
18   the allegations in the third sentence of Paragraph 58. WWE therefore denies the allegations in the
19   third sentence of Paragraph 58. WWE denies the remaining allegations in Paragraph 58.
20          B.      WWE Possesses a Dominant Market Share and Imposes and Exploits High
                    Barriers to Entry in the Relevant Market
21

22          59.     To the extent that Paragraph 59 sets forth conclusions of law, no response is
23   required. To the extent a response is required, WWE denies the allegations in Paragraph 59.
24                          i.     WWE Has a Dominant Share of the Relevant Market
25          60.     To the extent that Paragraph 60 sets forth conclusions of law, no response is
26   required. To the extent a response is required, WWE denies the allegations in Paragraph 60. The
27   allegations in the third sentence of Paragraph 60 refer to and purport to interpret a document that
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 1   speaks for itself. WWE respectfully refers the Court to the full cited document for its language
 2   and complete contents, and otherwise denies the allegations in the third sentence of Paragraph 60.
 3          61.     To the extent that Paragraph 61 sets forth conclusions of law, no response is
 4   required. To the extent a response is required, WWE denies the allegations in Paragraph 61.
 5          62.     To the extent that the first sentence of Paragraph 62 sets forth conclusions of law,
 6   no response is required. To the extent a response is required, WWE denies the allegations in the
 7   first sentence of Paragraph 62. WWE lacks knowledge or information sufficient to form a belief
 8   as to the truth of the remaining allegations in Paragraph 62. WWE therefore denies the remaining
 9   allegations in Paragraph 62.
10          63.     To the extent that Paragraph 63 sets forth conclusions of law, no response is
11   required. To the extent a response is required, WWE denies the allegations in Paragraph 63.
12          64.     WWE denies the first sentence of Paragraph 64. The allegations in the second
13   sentence of Paragraph 64 refer to and purport to interpret a document that speaks for itself. WWE
14   respectfully refers the Court to the full cited document for its language and complete contents,
15   and otherwise denies the allegations in the second sentence of Paragraph 64.
16          65.     To the extent that Paragraph 65 sets forth conclusions of law, no response is
17   required. To the extent a response is required, WWE denies the allegations in Paragraph 65. The
18   allegations in the third and fourth sentences of Paragraph 65 refer to and purport to interpret a
19   document that speaks for itself. WWE respectfully refers the Court to the full cited document for
20   its language and complete contents, and otherwise denies the allegations in the third and fourth
21   sentences of Paragraph 65.
22                          i.      WWE Exploits Barriers to Entry in the Relevant Market
                                    Through Anti-competitive Practices Designed to Raise
23
                                    Competitors’ Long-Run Costs of Production And Maintain Its
24                                  Dominance

25
            66.     To the extent that Paragraph 66 sets forth conclusions of law, no response is
26
     required. To the extent a response is required, WWE denies the allegations in Paragraph 66.
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 1                                  (1)    Substantial Foreclosure of The Relevant Market By Tying
                                           Up Key Media Partners
 2

 3          67.      To the extent that Paragraph 67 sets forth conclusions of law, no response is
 4   required. To the extent a response is required, WWE denies the allegations in Paragraph 67.
 5   WWE lacks knowledge or information sufficient to form a belief as to the truth of the allegations
 6   in the third, fourth, and fifth sentences of Paragraph 67. WWE therefore denies the allegations in
 7   the third, fourth, and fifth sentences of Paragraph 67.
 8          68.      To the extent that Paragraph 68 sets forth conclusions of law, no response is
 9   required. To the extent a response is required, WWE denies the allegations in Paragraph 68. The
10   allegations in the third sentence of Paragraph 68 refer to and purport to interpret a document that
11   speaks for itself. WWE respectfully refers the Court to the full cited document for its language
12   and complete contents, and otherwise denies the allegations in the third sentence of Paragraph 68.
13          69.      To the extent that Paragraph 69 sets forth conclusions of law, no response is
14   required. To the extent a response is required, WWE denies the allegations in Paragraph 69. The
15   allegations in the fourth sentence of Paragraph 69 refer to and purport to interpret documents that
16   speak for themselves. WWE respectfully refers the Court to the full cited documents for their
17   language and complete contents, and otherwise denies the allegations in the fourth sentence of
18   Paragraph 69.
19          70.      WWE admits that it began operating a streaming platform, the WWE Network,
20   beginning in 2014. Otherwise, to the extent that Paragraph 70 sets forth conclusions of law, no
21   response is required. To the extent a response is required, WWE denies the allegations in
22   Paragraph 70. The allegations in the third sentence of Paragraph 70 refer to and purport to
23   interpret a document that speaks for itself. WWE respectfully refers the Court to the full cited
24   document for its language and complete contents, and otherwise denies the allegations in the third
25   sentence of Paragraph 70.
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 1          71.     WWE admits that it has an agreement with NBCUniversal’s Peacock streaming
 2   platform. Otherwise, to the extent that Paragraph 71 sets forth conclusions of law, no response is
 3   required. To the extent a response is required, WWE denies the allegations in Paragraph 71.
 4          72.     The allegations in the second sentence of Paragraph 72 refer to and purport to
 5   interpret a document not cited in or attached to the FAC. As such, WWE lacks knowledge or
 6   information sufficient to form a belief as to the truth of the allegations in the second sentence of
 7   Paragraph 72. WWE therefore denies the allegations in the second sentence of Paragraph 72.
 8   Furthermore, the referenced document speaks for itself. WWE respectfully refers the Court to the
 9   full cited document for its language and complete contents, and otherwise denies the allegations
10   in the second sentence of Paragraph 72. Otherwise, to the extent that Paragraph 72 sets forth
11   conclusions of law, no response is required. To the extent a response is required, WWE denies
12   the allegations in Paragraph 72.
13                                  (2)     Restricting Access to and Raising Costs of Skilled
                                            Performers
14

15          73.     To the extent that Paragraph 73 sets forth conclusions of law, no response is
16   required. To the extent a response is required, WWE denies the allegations in Paragraph 73.
17          74.     The allegations in the third and fourth sentences of Paragraph 74 refer to and
18   purport to interpret documents not cited in or attached to the FAC. As such, WWE lacks
19   knowledge or information sufficient to form a belief as to the truth of the allegations in the third
20   and fourth sentences of Paragraph 74. WWE therefore denies the allegations in the third and
21   fourth sentences of Paragraph 74. Furthermore, the referenced documents speak for themselves.
22   WWE respectfully refers the Court to the full cited documents for their language and complete
23   contents, and otherwise denies the allegations in the third and fourth sentences of Paragraph 74.
24   WWE denies remaining the allegations in Paragraph 74.
25          75.     To the extent that Paragraph 75 sets forth conclusions of law, no response is
26   required. To the extent a response is required, WWE denies the allegations in Paragraph 75.
27

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 1          76.     WWE admits that Stephon Strickland was a WWE wrestler from 2019 to 2022 and
 2   avers, on information and belief, that Strickland is now a wrestler for AEW. WWE otherwise
 3   denies the allegations in the first, second, and third sentences in Paragraph 76. WWE lacks
 4   knowledge or information sufficient to form a belief as to the truth of the remaining allegations in
 5   Paragraph 76. WWE therefore denies the remaining allegations in Paragraph 76.
 6          77.     WWE denies the allegations in Paragraph 77.
 7          78.     WWE denies the allegations in Paragraph 78.
 8          79.     The allegations in the second and third sentences of Paragraph 79 refer to and
 9   purport to interpret documents that speak for themselves. WWE respectfully refers the Court to
10   the full cited documents for their language and complete contents, and otherwise denies the
11   allegations in the second and third sentences of Paragraph 79. WWE denies the allegations in the
12   first sentence of Paragraph 79.
13          80.     The allegations in the third sentence of Paragraph 80 refer to and purport to
14   interpret a document that speaks for itself. WWE respectfully refers the Court to the full cited
15   document for its language and complete contents, and otherwise denies the allegations in the third
16   sentence of Paragraph 80. To the extent that the remaining allegations in Paragraph 80 set forth
17   conclusions of law, no response is required. To the extent a response is required, WWE denies
18   the remaining allegations in Paragraph 80.
19                                 (3)     Cutting off Access to Arenas and Live Audiences
20          81.     To the extent that Paragraph 81 sets forth conclusions of law, no response is
21   required. To the extent a response is required, WWE denies the allegations in Paragraph 81.
22          82.     WWE denies the allegations in the first sentence of Paragraph 82. WWE lacks
23   knowledge or information sufficient to form a belief as to the truth of the remaining allegations in
24   Paragraph 82. WWE therefore denies the remaining allegations in Paragraph 82.
25          83.     WWE lacks knowledge or information sufficient to form a belief as to the truth of
26   the allegations in the first sentence of Paragraph 83. WWE therefore denies the allegations in the
27   first sentence of Paragraph 83. WWE denies the remaining allegations in Paragraph 83.
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 1          84.      WWE lacks knowledge or information sufficient to form a belief as to the truth of
 2   the allegations in the third sentence of Paragraph 84. WWE therefore denies the allegations in the
 3   third sentence of Paragraph 84. WWE denies the remaining allegations in Paragraph 84.
 4          85.      WWE denies the allegations in the first sentence of Paragraph 85. WWE lacks
 5   knowledge or information sufficient to form a belief as to the truth of the allegations in the second
 6   sentence of Paragraph 85. WWE therefore denies the allegations in the second sentence of
 7   Paragraph 85.
 8          86.      WWE lacks knowledge or information sufficient to form a belief as to the truth of
 9   the allegations in the third sentence of Paragraph 86. WWE therefore denies the allegations in the
10   third sentence of Paragraph 86. WWE denies the remaining allegations in Paragraph 86.
11   V.     WWE INTERFERES WITH MLW’S MEDIA RIGHTS DEALS.
12          87.      To the extent that Paragraph 87 sets forth conclusions of law, no response is
13   required. To the extent a response is required, WWE denies the allegations in Paragraph 87.
14          A.       WWE Interferes with MLW’s Deal with VICE
15          88.      WWE lacks knowledge or information sufficient to form a belief as to the truth of
16   the allegations in Paragraph 88. WWE therefore denies the allegations in Paragraph 88.
17          89.      WWE admits that VICE’s programs included a series titled Dark Side of the Ring.
18   WWE admits that A&E airs WWE programs. WWE denies the remaining allegations in
19   Paragraph 89.
20          90.      WWE admits that Jerry McDevitt was interviewed as part of an episode of Dark
21   Side of the Ring. WWE denies the remaining allegations in Paragraph 90.
22          91.      WWE lacks knowledge or information sufficient to form a belief as to the truth of
23   the allegations in the first and second sentences of Paragraph 91. WWE therefore denies the
24   allegations in the first and second sentences of Paragraph 91. WWE denies the allegations in the
25   third sentence of Paragraph 91.
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 1          B.      WWE Interferes with MLW’s Deal with Tubi
 2          92.     WWE lacks knowledge or information sufficient to form a belief as to the truth of
 3   the allegations in Paragraph 92. WWE therefore denies the allegations in Paragraph 92.
 4          93.     WWE lacks knowledge or information sufficient to form a belief as to the truth of
 5   the allegations in Paragraph 93. WWE therefore denies the allegations in Paragraph 93.
 6          94.     WWE lacks knowledge or information sufficient to form a belief as to the truth of
 7   the allegations in Paragraph 94. WWE therefore denies the allegations in Paragraph 94.
 8          95.     WWE lacks knowledge or information sufficient to form a belief as to the truth of
 9   the allegations in Paragraph 95. WWE therefore denies the allegations in Paragraph 95.
10          96.     WWE lacks knowledge or information sufficient to form a belief as to the truth of
11   the allegations in Paragraph 96. WWE therefore denies the allegations in Paragraph 96.
12          97.     WWE lacks knowledge or information sufficient to form a belief as to the truth of
13   the allegations in Paragraph 97. WWE therefore denies the allegations in Paragraph 97.
14          98.     WWE lacks knowledge or information sufficient to form a belief as to the truth of
15   the allegations in Paragraph 98. WWE therefore denies the allegations in Paragraph 98.
16          99.     WWE denies the allegations in Paragraph 99.
17          100.    WWE admits that, on or about August 9, 2021, Stephanie McMahon spoke with a
18   Tubi executive. WWE denies the allegations in the second, third, and fourth sentences of
19   Paragraph 100. The allegations in the fifth sentence of Paragraph 100 refer to and purport to
20   interpret a document not cited in or attached to the FAC. As such, WWE lacks knowledge or
21   information sufficient to form a belief as to the truth of the allegations in the fifth sentence of
22   Paragraph 100. WWE therefore denies the allegations in the second sentence of Paragraph 100.
23   Furthermore, the referenced document speaks for itself. WWE respectfully refers the Court to the
24   full cited document for its language and complete contents, and otherwise denies the allegations
25   in the fifth sentence of Paragraph 100.
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 1          101.    WWE lacks knowledge or information sufficient to form a belief as to the truth of
 2   the allegations in the first sentence of Paragraph 101. WWE therefore denies the allegations in
 3   the first sentence of Paragraph 101. WWE denies the remaining allegations in Paragraph 101.
 4          102.    The allegations in Paragraph 102 refer to and purport to interpret a document that
 5   speaks for itself. WWE respectfully refers the Court to the full cited document for its language
 6   and complete contents, and otherwise denies the allegations in Paragraph 102.
 7   VI.    WWE’S PREDATORY, ANTI-COMPETITIVE AND TORTIOUS CONDUCT HAS
            CAUSED HARM TO THE COMPETITIVE PROCESS, CONSUMERS AND
 8
            MLW.
 9
            A.      WWE’s Anti-Competitive Conduct Has Caused Harm to Competition and
10                  Consumers

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            103.    To the extent that Paragraph 103 sets forth conclusions of law, no response is
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     required. To the extent a response is required, WWE denies the allegations in Paragraph 103.
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            104.    To the extent that Paragraph 104 sets forth conclusions of law, no response is
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     required. To the extent a response is required, WWE denies the allegations in Paragraph 104.
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     WWE lacks knowledge or information sufficient to form a belief as to the truth of the allegations
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     in the fourth sentence of Paragraph 104. WWE therefore denies the allegations in the fourth
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     sentence of Paragraph 104.
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            105.    To the extent that Paragraph 105 sets forth conclusions of law, no response is
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     required. To the extent a response is required, WWE denies the allegations in Paragraph 105.
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            B.      WWE’s Predatory, Anti-Competitive and Tortious Conduct Has Caused
21                  Antitrust Injury to MLW
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            106.    To the extent that the first and third sentences of Paragraph 106 sets forth
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     conclusions of law, no response is required. To the extent a response is required, WWE denies
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     the allegations in the first and third sentences of Paragraph 106. WWE lacks knowledge or
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     information sufficient to form a belief as to the truth of the allegations in the second sentence of
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     Paragraph 106. WWE therefore denies the allegations in the second sentence of Paragraph 106.
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 1          107.    WWE lacks knowledge or information sufficient to form a belief as to the truth of
 2   the allegations in Paragraph 107. WWE therefore denies the allegations in Paragraph 107.
 3          108.    WWE denies the allegations in the first, third, and fifth sentences of Paragraph
 4   108. WWE lacks knowledge or information sufficient to form a belief as to the truth of the
 5   remaining allegations in Paragraph 108. WWE therefore denies the remaining allegations in
 6   Paragraph 108.
 7          109.    To the extent that Paragraph 109 sets forth conclusions of law, no response is
 8   required. To the extent a response is required, WWE denies the allegations in Paragraph 109.
 9                                     FIRST CLAIM FOR RELIEF
10          (Monopolization Under Section 2 of the Sherman Antitrust Act, 15 U.S.C. § 2)
11          110.    WWE incorporates by reference each response and denial set forth in the
12   foregoing paragraphs as if fully set forth herein.
13          111.    To the extent that Paragraph 111 sets forth conclusions of law, no response is
14   required. To the extent a response is required, WWE denies the allegations in Paragraph 111.
15          112.    To the extent that Paragraph 112 sets forth conclusions of law, no response is
16   required. To the extent a response is required, WWE denies the allegations in Paragraph 112.
17          113.    To the extent that Paragraph 113 sets forth conclusions of law, no response is
18   required. To the extent a response is required, WWE denies the allegations in Paragraph 113.
19          114.    To the extent that Paragraph 114 sets forth conclusions of law, no response is
20   required. To the extent a response is required, WWE denies the allegations in Paragraph 114.
21          115.    To the extent that Paragraph 115 sets forth conclusions of law, no response is
22   required. To the extent a response is required, WWE denies the allegations in Paragraph 115.
23          116.    To the extent that Paragraph 116 sets forth conclusions of law, no response is
24   required. To the extent a response is required, WWE denies the allegations in Paragraph 116.
25          117.    To the extent that Paragraph 117 sets forth conclusions of law, no response is
26   required. To the extent a response is required, WWE denies the allegations in Paragraph 117.
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 1          118.    To the extent that Paragraph 118 sets forth conclusions of law, no response is
 2   required. To the extent a response is required, WWE denies the allegations in Paragraph 118.
 3          119.    To the extent that Paragraph 119 sets forth conclusions of law, no response is
 4   required. To the extent a response is required, WWE denies the allegations in Paragraph 119.
 5          120.    To the extent that Paragraph 120 sets forth conclusions of law, no response is
 6   required. To the extent a response is required, WWE denies the allegations in Paragraph 120.
 7                                   SECOND CLAIM FOR RELIEF
 8           (Attempted Monopolization Under the Sherman Antitrust Act, 15 U.S.C. § 2)
 9          121.    WWE incorporates by reference each response and denial set forth in the
10   foregoing paragraphs as if fully set forth herein.
11          122.    To the extent that Paragraph 122 sets forth conclusions of law, no response is
12   required. To the extent a response is required, WWE denies the allegations in Paragraph 122.
13          123.    To the extent that Paragraph 123 sets forth conclusions of law, no response is
14   required. To the extent a response is required, WWE denies the allegations in Paragraph 123.
15          124.    To the extent that Paragraph 124 sets forth conclusions of law, no response is
16   required. To the extent a response is required, WWE denies the allegations in Paragraph 124.
17          125.    To the extent that Paragraph 125 sets forth conclusions of law, no response is
18   required. To the extent a response is required, WWE denies the allegations in Paragraph 125.
19          126.    To the extent that Paragraph 126 sets forth conclusions of law, no response is
20   required. To the extent a response is required, WWE denies the allegations in Paragraph 126.
21          127.    To the extent that Paragraph 127 sets forth conclusions of law, no response is
22   required. To the extent a response is required, WWE denies the allegations in Paragraph 127.
23          128.    To the extent that Paragraph 128 sets forth conclusions of law, no response is
24   required. To the extent a response is required, WWE denies the allegations in Paragraph 128.
25          129.    To the extent that Paragraph 129 sets forth conclusions of law, no response is
26   required. To the extent a response is required, WWE denies the allegations in Paragraph 129.
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 1                                    THIRD CLAIM FOR RELIEF
 2                  (Intentional Interference with Prospective Economic Advantage)
 3          130.    WWE incorporates by reference each response and denial set forth in the
 4   foregoing paragraphs as if fully set forth herein.
 5          131.    WWE lacks knowledge or information sufficient to form a belief as to the truth of
 6   the allegations in Paragraph 131. WWE therefore denies the allegations in Paragraph 131.
 7          132.    WWE denies the allegations in Paragraph 132.
 8          133.    WWE denies the allegations in Paragraph 133.
 9          134.    WWE denies the allegations in the first sentence in Paragraph 134. WWE lacks
10   knowledge or information sufficient to form a belief as to the truth of the remaining allegations in
11   Paragraph 134. WWE therefore denies the allegations in Paragraph 134.
12          135.    To the extent that Paragraph 135 sets forth conclusions of law, no response is
13   required. To the extent a response is required, WWE denies the allegations in Paragraph 135.
14          136.    To the extent that Paragraph 136 sets forth conclusions of law, no response is
15   required. To the extent a response is required, WWE denies the allegations in Paragraph 136.
16                                   FOURTH CLAIM FOR RELIEF
17                        (Intentional Interference with Contractual Relations)
18          137.    WWE incorporates by reference each response and denial set forth in the
19   foregoing paragraphs as if fully set forth herein.
20          138.    WWE lacks knowledge or information sufficient to form a belief as to the truth of
21   the allegations in Paragraph 138. WWE therefore denies the allegations in Paragraph 138.
22          139.    WWE lacks knowledge or information sufficient to form a belief as to the truth of
23   the allegations in Paragraph 139. WWE therefore denies the allegations in Paragraph 139.
24          140.    WWE lacks knowledge or information sufficient to form a belief as to the truth of
25   the allegations in Paragraph 140. WWE therefore denies the allegations in Paragraph 140.
26          141.    WWE denies the allegations in Paragraph 141.
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 1          142.    To the extent that Paragraph 142 sets forth conclusions of law, no response is
 2   required. To the extent a response is required, WWE denies the allegations in Paragraph 142.
 3          143.    To the extent that Paragraph 143 sets forth conclusions of law, no response is
 4   required. To the extent a response is required, WWE denies the allegations in Paragraph 143.
 5                                     FIFTH CLAIM FOR RELIEF
 6                                    (Cal. Bus. & Prof. Code §17200)
 7          144.    WWE incorporates and realleges each response and denial set forth in the
 8   foregoing paragraphs as if fully set forth herein.
 9          145.    WWE denies the allegations of Paragraph 145.
10          146.    To the extent that Paragraph 146 sets forth conclusions of law, no response is
11   required. To the extent a response is required, WWE denies the allegations in Paragraph 146.
12          147.    To the extent that Paragraph 147 sets forth conclusions of law, no response is
13   required. To the extent a response is required, WWE denies the allegations in Paragraph 147.
14                                   DEMAND FOR A JURY TRIAL
15          Pursuant to Federal Rule of Civil Procedure 38 and Northern District of California L.R. 3-
16   6, WWE demands a trial by jury on all issues so triable.
17                                        PRAYER FOR RELIEF
18          WWE denies that MLW is entitled to any of the requested relief and prays that MLW’s
19   Prayer for Relief be denied in its entirety. WWE further prays that judgment be entered for WWE
20   and that the Court grant WWE such other and further relief as it deems just and appropriate:
21                  1.      WWE denies that MLW is entitled to any of the requested relief and prays
22                          that MLW’s Prayer for Relief be denied in its entirety. WWE further prays
23                          that judgment be entered for WWE and that the Court grant WWE such
24                          other and further relief as it deems just and appropriate.
25                  2.      WWE denies that MLW is entitled to any of the requested relief and prays
26                          that MLW’s Prayer for Relief be denied in its entirety. WWE further prays
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 1                   that judgment be entered for WWE and that the Court grant WWE such
 2                   other and further relief as it deems just and appropriate.
 3             3.    WWE denies that MLW is entitled to any of the requested relief and prays
 4                   that MLW’s Prayer for Relief be denied in its entirety. WWE further prays
 5                   that judgment be entered for WWE and that the Court grant WWE such
 6                   other and further relief as it deems just and appropriate.
 7             4.    WWE denies that MLW is entitled to any of the requested relief and prays
 8                   that MLW’s Prayer for Relief be denied in its entirety. WWE further prays
 9                   that judgment be entered for WWE and that the Court grant WWE such
10                   other and further relief as it deems just and appropriate.
11             5.    WWE denies that MLW is entitled to any of the requested relief and prays
12                   that MLW’s Prayer for Relief be denied in its entirety. WWE further prays
13                   that judgment be entered for WWE and that the Court grant WWE such
14                   other and further relief as it deems just and appropriate.
15             6.    WWE denies that MLW is entitled to any of the requested relief and prays
16                   that MLW’s Prayer for Relief be denied in its entirety. WWE further prays
17                   that judgment be entered for WWE and that the Court grant WWE such
18                   other and further relief as it deems just and appropriate.
19             7.    WWE denies that MLW is entitled to any of the requested relief and prays
20                   that MLW’s Prayer for Relief be denied in its entirety. WWE further prays
21                   that judgment be entered for WWE and that the Court grant WWE such
22                   other and further relief as it deems just and appropriate.
23             8.    WWE denies that MLW is entitled to any of the requested relief and prays
24                   that MLW’s Prayer for Relief be denied in its entirety. WWE further prays
25                   that judgment be entered for WWE and that the Court grant WWE such
26                   other and further relief as it deems just and appropriate.
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 1                   9.        WWE denies that MLW is entitled to any of the requested relief and prays
 2                             that MLW’s Prayer for Relief be denied in its entirety. WWE further prays
 3                             that judgment be entered for WWE and that the Court grant WWE such
 4                             other and further relief as it deems just and appropriate.
 5                   10.       WWE denies that MLW is entitled to any of the requested relief and prays
 6                             that MLW’s Prayer for Relief be denied in its entirety. WWE further prays
 7                             that judgment be entered for WWE and that the Court grant WWE such
 8                             other and further relief as it deems just and appropriate.
 9                                        AFFIRMATIVE DEFENSES
10           WWE asserts the following affirmative defenses on information and belief. In doing so,
11   WWE does not assume any burden of proof, persuasion, or production on such defenses where
12   such burden would otherwise fall on MLW. Additionally, WWE’s affirmative defenses are
13   asserted in the alternative, and none of them constitute an admission of liability or that MLW is
14   entitled to any relief.
15                                                 First Defense
16           The FAC fails to state a claim upon which relief may be granted.
17                                                Second Defense
18           MLW’s claims are barred because MLW lacks antitrust injury or injury in fact.
19                                                Third Defense
20           MLW’s equitable claims are barred, in whole or in part, by the doctrines of unclean hands
21   and in pari delicto.
22                                                Fourth Defense
23           MLW’s equitable claims are barred, in whole or in part, based on the doctrines of
24   estoppel, laches, and waiver, as MLW’s claims are based, in part, on actions and events spanning
25   decades.
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 1                                               Fifth Defense
 2          MLW’s claims are barred, in whole or in part, because it does not have standing to raise
 3   those claims.
 4                                               Sixth Defense
 5          MLW’s claims are barred, in whole or in part, because WWE’s actions were authorized or
 6   permitted under state and/or federal law.
 7                                             Seventh Defense
 8          If and to the extent that MLW has been damaged, which WWE denies, MLW, by the
 9   exercise of reasonable diligence, could have mitigated its damages but did not and is therefore
10   barred from recovery. Alternatively, any damages sustained by MLW, which WWE denies, must
11   be reduced by the amount that such damages would have been reduced had MLW exercised
12   reasonable diligence in mitigating its damages.
13                                               Eighth Defense
14          MLW’s claims are barred, in whole or in part, because, to the extent that MLW suffered
15   any injury or incurred any damages as alleged in the FAC, which WWE denies, WWE’s alleged
16   conduct was not the actual or proximate cause of any injury or damage to MLW.
17                                               Ninth Defense
18          MLW’s claims are barred, in whole or in part, because, to the extent that MLW suffered
19   any injury or incurred any damages as alleged in the FAC, which WWE denies, any such injury
20   or damage was caused and brought about by the acts, conduct, or omissions of individuals or
21   entities other than WWE, and, as such, any recovery herein should be precluded or diminished in
22   proportion to the amount of fault attributable to such other individuals or entities.
23                                               Tenth Defense
24          MLW’s claims are barred, in whole or in part, because, to the extent MLW suffered any
25   injury or incurred any damages as alleged in the FAC, which WWE denies, any such injury or
26   damage was caused and brought about by intervening or superseding events, factors, occurrences,
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 1   conditions, or acts of others, including forces in the marketplace, and not by the alleged wrongful
 2   conduct on the part of WWE.
 3                                            Eleventh Defense
 4          MLW’s equitable claims are barred, in whole or in part, because any recovery would
 5   result in unjust enrichment to MLW.
 6                                            Twelfth Defense
 7          MLW’s claims for equitable relief are barred because MLW has an adequate remedy at
 8   law.
 9                                          Fourteenth Defense
10          MLW’s claims are barred, in whole or in part, because WWE had legitimate business
11   and/or economic justifications for the conduct at issue.
12                                         Reservation of Rights
13          WWE reserves the right to assert additional affirmative defenses as they become
14   available. WWE has insufficient knowledge or information upon which to form a basis as to
15   whether it may have additional, as yet unstated, separate defenses available. WWE reserves the
16   right to amend this Answer to add, supplement, or modify defenses based on legal theories that
17   may be or will be divulged through clarification, through discovery, or through further factual or
18   legal analysis of MLW’s allegations, contentions, and positions in this litigation.
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 1   Dated: August 14, 2023                   Respectfully submitted,
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 3

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